             Case 2:21-bk-18156-ER                      Doc 1 Filed 10/22/21 Entered 10/22/21 17:11:14                                     Desc
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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

 CENTRAL DISTRICT OF CALIFORNIA

 Case number   (•I known)                                                    Chapter      11
                            ~~~~~~~~~~~~~~~~




                                                                                                                          0   Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              04/20
If more space Is needed, attach a separate sheet to th is form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




2.   All other names debtor
     used in the last 8 years
     Include any assumed           OBA Best Costumes & Toy Deals
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification       XX-XXXXXXX
     Number (EIN)


4.   Debtor's address              Principal place of business                                    Mailing address, if different from principal place of
                                                                                                  business

                                  2660 East Del Amo Blvd.
                                  Compton, CA 90221
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, Stale & ZIP Code


5.   Debtor's website (URL}


6.   Type of debtor
                                  •   Corporation (including Limited Liability Company (LLC} and Limited Liability Partnership (LLP})
                                  0 Partnership (excluding LLP)
                                  0   Other. Specify:




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Debtor     BCT Deals Inc.                                                                              Case number (if known)-- - - - - -- -- -- - - -
           Name



7.    Describe debtor's business      A. Check one:
                                      0   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      0   Single Asset Real Estate (as defined in 11U.S.C. §101(51B))
                                      0   Railroad (as defined in 11 U.S.C. § 101 (44))
                                      0   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      0   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      0   Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                      •   None of the above

                                      B. Check all that apply
                                      0   Tax-exempt entity (as described in 26 U.S.C. §501)
                                      D   Investment company, includ ing hedge fund or pooled investment veh icle (as defined in 15 U.S .C. §80a-3)
                                      0   Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Cla ssification System) 4-digit code that best describes debtor.
                                         See http:l/www.uscourts.govlfour-digit-national-association-naics-codes.



8.   Under wh ich chapter of the      Check one:
     Bankruptcy Code is the
     debtor filing?
                                      0   Chapter 7
                                      0   Chapter 9

     A debtor who is a "small        •    Chapter 11 . Check all that apply.
     business debtor" must check
     the first sub-box. A debtor as
                                                           0    The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D), and its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who
     elects to proceed under                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                 operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     "small business debtor") must                         •    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
                                                           0    A plan is being filed with th is petition.
                                                           0    Acceptances of the plan were solicited pre petition from one or more classes of creditors , in
                                                                accordance with 11 U.S.C . § 1126(b).
                                                           0    The debtor is required to file periodic reports (for example, 1OK and 1OQ) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form .
                                                           0    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                      0   Chapter 12

9.   Were prior bankruptcy            •No.
     cases filed by or against
     the debtor with in th e last 8   D Yes.
     years?
     If more than 2 cases, attach a
     separate list.                            District                      When                  Case number
                                               District   ----------
                                                          _ __ _ _ _ _ _ _ _ Whe n - - - - - - - -
                                                                                   - - - - - - - - Case number




Officia l Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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 Debtor    BCT Deals Inc.                                                                                   Case number (if known)
                                                                                                                                     --------------~
          Name

 10. Are any bankruptcy cases              •    No
     pending or being filed by a
     business partner or an                D Yes.
     affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                           Debtor                                                      Relationship
                                                                 - - - - - - - - - - - W h - e _ n_ _ _ _ _ _ _ _ Case number, if known
                                                      District
                                                                 ---------~




11. Why Is the case filed In           Check all that apply:
    this district?
                                       •        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       D        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or             •   No
     have possession of any
     real property or personal         0   Yes.      Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property that needs
     Immediate attention?                            Why does the property need Immediate attention? (Check all that apply.)
                                                     D   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?
                                                     D It needs to be physically secured or protected from the weather.
                                                     0 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                         livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options) .
                                                     D Other
                                                     Where is the property?
                                                                                       Number, Street, City, State & ZIP Code
                                                     Is the property insured?
                                                     DNo
                                                     D Yes.      Insurance agency
                                                                 Contact name
                                                                 Phone



          Statistical and administrative Information

13. Debtor's estimation of                        Check one:
    available funds
                                                  • Funds will be available for distribution to unsecured creditors.
                                                  D After any administrative expenses are paid, no funds will be available to unsecured cred itors.

14. Estimated number of                •   1-49                                           D 1,000-5,ooo                               D 25,001-50,000
    creditors
                                   D 50-99                                                D 5001-10,000                               D 50.001-100.000
                                   D 100-199                                              D 10.001-25,000                             D More than100,000
                                   D 200-999

15. Estimated Assets               D $0 - $50,ooo                                                                                     D $500,000,001 - $1 billion
                                                                                          • $1 ,000,001 - $10 million
                                   D       $50.001 - $100.000                             D $10,000,001 - $50 million                 D $1,000,000,001 - $10 billion
                                   D       s100,001 - $500,000                            D $50,000,001 - $100 million                D $10,000,000,001 - $50 billion
                                   D       $500,001 - $1 million                          0 $100,000,001 - $500 million               D More than $50 billion

16. Estimated liabilities          D $0 - $50,000                                                                                     D $500,000,001 - $1 billion
                                                                                          • $1,000,001 - $10 mjllion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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 Debtor    BCT Deals, Inc.                                                            Case number (it known)
                                                                                                               ~~~~~~~~~~~~~~-


           Name

                             D $50,001 - $100.000                     D $10,000,001 - $50 million               D $1,000,000,001 - $10 billion
                             D $100.001 - $500,000                    D $50,000,001 - $100 million              D $10,000,000,001 - $50 billion
                             D $500,001 - $1   million                D $100,000,001 - $500 million             D   More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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Debtor     BCT Deals Inc.                                                                           Case number (ii known)
                                                                                                                             ~~~~~~~~~~~~~~~


           Name



           Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud ls a serious crime. Making a false statement In connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both . 18 U.S.C. §§ 152, 1341, 1519, and 3571 .

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on         Oo\t:tov( 12, 202.\
                                                   MM /DD/YYYY


                             x                                                                             Michael J. Ward
                                                                                                           Printed name

                                 Title   President




18. Signature of attorney    x                                                                              Date




                                 Law Offices of Michael Jay Berger
                                 Firm name

                                 9454 Wilshire Boulevard, 6th floor
                                 Beverl y Hills, CA 90212
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (310) 271-6223                Email address      michael.berger@bankruptcypower.com


                                 100291 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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  Debtor name BCT Deals, Inc.
  United States Bankruptcy Court for the :                  CENTRAL DISTRICT OF                                                                               0   Check if this is an
                                                            CALIFORNIA
  Case num ber (if known):                                                                                                                                        amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
 Are Not Insiders                                                                           12115

 A list of creditors holding the 20 largest unsecured claims must be fi led in a Chapter 11 or Chapter 9 case. Include claims which the
 debtor disputes. Do not inc lude claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101 (31 ). Also, do not
 include claims by secured creditors, unless the unsecured c laim resulting from inadequate collateral value places the creditor
 among the holders of the 20 largest unsecured claims.

  Nameofcredl!Or ancl'      Name, telephone number Natu re of claim                               Indicate If cl aTm     Amount of claim
  complete malling address, and email address of   (for example, trade                             Is contingent,        If the claim is fully unsecured, fill in only vnsecured claim amount. If
  Including zip code        creditor contact       debts, bank loans,                             unllquldated, or       claim is partially secured, fill in total claim amount and deduction for
                                                   professional services.                             disputed           value of collateral or setoff to calculate unsecured claim.
                                                   and government                                                        Total claim, If            Deduction for value Vnsecured claim
                                                   contracts)                                                            partially secured          of collateral or setoff
                    --     ---- r----·- ·- -
    2M Distributors LLC                                            Goods sold and                Contingent                                                                            $71,083.50
    dba Shepher                                                    received                      Unliquidated
    Distributors & Sales                                           Lawsuit filed,                Disputed
    2300 Linden Blvd .                                             case No.:
    Brooklvn, NY 11208                                             19CMCV00174
    Aeromax Industries,                                            Goods sold and                Contingent                                                                        $91,319.99
    Inc.                                                           received                      Unliquidated
   c/o Alexander V.                                                Lawsuit filed,                Disputed
    Hettena, Esq.                                                  case No.:
    31348 Via Colinas,                                             19CMCV00257
 , #106
 l Thousand Oaks, CA
  -91362
     · · --·---··-··-·· ------    .   ·-··--·                                                              ---- ..   "


   Au ldey Toys                                                  Vendor                                                                                                          $428,530.00
   2100 E Grand
   Avenue, Ste 500
   El Segundo, CA
   90245
                                                                                                                -- -                                                              $16,952.78
                                                                                                                                                                                              ·-
   CSL Express Line                                              Services
   17523 S. Susana Rd.
 j East Rancho
 i Dom i nguz, CA
! 90221
I --· - - -                                                                   -----··-··--·--·   ---·----- -- >--                                                                                -
   Dell Fina ncia l                                              Services                                                                                                           $6,840 .09
I Serv ices
   P 0 box 5275                                                 I                                                                                                                                   I



   Caro l Stream, IL                                           I                                                                                                                                    I
I 60197_:_5275 - - - -

i Easter Unlimited
                                          -- -                   Goods and
                                                                                   -- ,.__Contingent                                                                             $1ao,143 .oo       I:
   Inc/Fun World                                                 Services                        Unliquidated
  c/o Natalia                                                    Lawsuit filed,                  Disputed
  Minassian                                                      Case No.:
   Hatkott & Minassian                                           20STCV03374
   18757 Burbank
  Blvd., Ste 100
 .!~rzana, CA 91356                                                                                                                              ----··--··            -···-




Official form 204                                Chapter 11 or Chapter 9 Case s: List of Creditors Who Have the 20 Largest Unsecured claims                                        page 1

Software Copyright (c) 1996-2021 Best Case, LL C -www.bestcase.com                                                                                                     Best Case Bankruptcy
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    Debtor   -~_CT Deal~l            Inc.                                                                                  Case number (if known)
              Name

    Name -clicr edlior and- - Name, telephone number Nature of claim                                  Indicate if claim   Amount of claim
    complete malling address, and email address of   (for example, trade                               Is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount If
    including zip code        creditor contact       debts, bank loans,                               untlquldated, or    claim is partially secured, fill In total claim amount and deduction for
                                                     professional services.                               disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                                          Total claim, If            Deduction for value        Unsecured claim
                                                                                                                          partially secured          of collateral or setoff                         I
    ·-·----·- · - - - -- 1 - - - - - - - - - + - - - - - - - - - - - - - - - - +"'-- --'- - - - - + - - - - - - - · - + - - - - - - - - - ;
    Executive Financial                      Services of UPS      Contingent                                                 $370,000.00
    Enterprises                              Lawsuit filed,       Unliquidated
    470 S San Vicente                        case No.:            Disputed
    Blvd, #1f                                21 CMCV00188

 1-~Express
    -~"";_4_~_n_g_e_1e_s_._c_A_ _~·---- - - - - ---+-------·-·----
                                                    Services
                                                                   - -- - ---+-----..· - · - - · - - + - - - - - - - - -+--- - - _____.]
                                                                                                                             $6,934. 17
 Employment
 Professionals
 22805 Hawthorne
 Blvd.
ITorrance, CA 90505
p=eciEx· - - - - - - -+ - - - - --
                                                                         FedEx Services,     Contingent                                                                              $151,000.00
  P0 Box 7221                                                            Lawsuit filed,      Unliquidated
1Pasadena, CA                                                            Case No.:           Disputed
' 91109-7321                                                             2:20-cv-01385-AB- !
                                                                         JEM
i                                                                        Case settled. ___ _ _ _ _ _ _
                                                                                           1                                                        - - - - - -- ---- - - - - - - - - - - 1
  Harvest Small                                                        ;-P aycheck ----      Contingent                                                                                $83,418.00
1
  Business Finance,                                                      Protection
; LLC                                                                   Program - Subject
  24422 Avenida De                                                      to forgiveness
  La Carlota #232
  Laguna Hills, CA
    926~~;___ _ _. --~~--------~-------·-·- -------·--1-----~~--<I--·------·--·~
    Landsberg/EPS                                                          Services                                                                                                   $12,018.72
    1900 W. University
    Drive, Ste 101
    Tef!1.pe ~AZ85~8_1_--+---------+---------+--------+----------+----------+·--------­
  Lending Club                     Business Loan                                                                                                                                      $22,295.76
  71 Stevenson Street,
  Ste 300
  San Francisco, CA
1
  94105                                                                                               -- - - · - - -1- - - - - -- - ; - - - - - - - - - 1 - - - - -
      -------~· - - - - - - - - -1
                                 --------
  PayPal Swift                     Business Loan                                                                                                                                      $49,996.68
  Capital
  3505 Silverside
  Road , Ste 200
 Wilmington, DE
~.!!.1_0 _______                      --------1---~                         . . . . -..-..--.-----·------·- - - - - -+-- - - - · - - - ·-        +----·---·--·---
 Regal Logistics                                                       Services                                                                                                         $2,811.77
 6500 26th St E
 Fife, WA 98424
 Rubies Costume Co.
                                                                      ~~---                                      ---1-------·· ····--·-------·1----- - - - - l - - - - - - - - -
                                                                                                                                                                                    $428,530.00
                                                                      1 Vendor                    j
 One Rubie Plaza
 Richmond Hill, NY   I
 11418                                                             ·-f - - - ·····--·-·----·---
 Square Capital                                                        Business Loan
 1455 Market Street,
 Ste 600
 MSC 715
 San Francisco, CA
 94103

Official form 204                                       Chapter 11 or Chapter 9 Cases: llst of Creditors Who Have the 20 Largest Unsecured claims                                      page 2

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    Debtor   BCT Deals Inc.                                                                                       Case number (if known)
             Name

    Name
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               ed~l~
                   to_r_
                       a_n~
                          d--~,N
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                                  -e-,~
                                      te
                                       ~l-
                                         ep
                                          ~h-o_n_
                                                e_n_u_
                                                     m~b-
                                                        e-r ~N
                                                             ~a-t-
                                                                 ur_e_o~f-
                                                                         c~la~
                                                                             lm~·---.-·~
                                                                                       1n-d~
                                                                                           ic-a~
                                                                                               te-l~
                                                                                                   f-c~
                                                                                                      la~
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                                                                                                                             m-------------· -                                       -        -
    complete malling address, and email address of                   (for example, trade       Is contingent,    If the claim Is f1,1lly unsecured, fill in only unsecured clalm amount. If
    lncludlng zip code        creditor contact                       debts. bank loans.       unllquidated, or   claim is partially secured, fill in total claim amount and deduction for
                                                                     professional services,       disputed       value of collateral or setoff to calculate unsecured claim .
                                                                                                                 Total claim, If              Deduction for value        Unsecured claim
                                                                                                                 partially secured            of collateral or setoff
    Total Quality                 , - - - - ----+--S-e-rv
                                                        - ic_e_s______, _________~-----+-----------$-6-
                                                                                                      ,8-
                                                                                                        0-4-
                                                                                                           .8--<
                                                                                                              2

   Ligistics            1
   P 0 Box 634558       I
   Cincinnati, OH
   45263-4558          I

 I Trick or Treat   -- l  -- ______ ,_Goods sold an d-    C_o_n_t-in_g
                                                                     _e_n_t- - t - · - - - - - --+- - - - - --1--- $182,226.09
   Studios, Inc.                          received        Unliquidated
   c/o Hector Emilio                      Lawsuit filed,  Disputed
   Corea, Esq.                            case No.:
   DLA Piper LLP                          21CMCV00057
   2000 Avenue of
   Stars, Ste 400 N.T.
   Los Angeles, CA
   90067
       ---                                                                                                           $6,143.00
   U-Line Shipping                        Services
  Supplies
!  P 0 Box 88741
  Chicago, IL
i 60680-17_4_1.____- < - - - - - - - - + - - - - - - - -- - ----->---------·----- - - -- - + - - - - - - - - ·
                                                                                                                    $21,341.00
  Unishippers                            Services
I ~~~~ Eber Blvd.,               I                                                            1
L~~e~~~ur_n~·-~-~ ---1-------~-·-·----_J                                                      _ _ __ _,________ _.____ _ _ _ _,________                                                           I




Official form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                    page 3

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                                                               United States Bankruptcy Court
                                                                    Central District of California
   In re      BCT Deals, Inc.                                                                                          Case No.
                                                                                      Debtor(s)                        Chapter         11

                                                          LIST OF EQUITY SECURITY HOLDERS
 Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case


  Name and last known address or place of                           Security Class Number of Securities                           Kind of Interest
  business of holder
  Michael J. Ward                                                                                                                 100%
  2704 W. 232nd Street
  Torrance, CA 90505


 DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIJ>

          I, Michael Jay Ward, the President of the corporation named as the debtor in this case, declare under penalty of
 perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
 information and belief.                                                          ·



  Date                                                                        Signature       'Y\~~O>v\
                                                                                             Michael J. War

                        Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                         18 U.S.C. §§ 152 and 3571.




Sheet I of I in List of Equ ity Security Holders
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                                  STATEMENT OF RELATED CASES
                               INFORMATION REQUIRED BY LBR 1015-2
                UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
 1.   A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
      against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
      copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
      corporation of which the debtor is a director, officer, or person in control, as follows : (Set forth the complete number
      and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
      assigned , whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
      included in Schedule NB that was filed with any such prior proceeding(s).)
 None

2.    (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
      Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
      debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
      debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows : (Set forth the
      complete number and title of each such prior proceeding, date filed , nature of the proceeding, the Bankruptcy Judge
      and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
      any real property included in Schedule NB that was filed with any such prior proceeding(s) .)
 None

3.    (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
      previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
      of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
      of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
      or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
      such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
      still pending, and if not, the disposition thereof. If none, so indicate. Also, ·list any real property included in Schedule
      NB that was filed with any such prior proceeding(s).)
 None

4.    (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
      been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
      proceeding, date filed, nature of proceeding , the Bankruptcy Judge and court to whom assigned, whether still
      pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
      that was filed with any such prior proceeding(s).)
 None


I declare, under penalty of perjury , that the foregoing is true and correct.
 Executed at      Compton
                 ~--'~~~~~~~~~~
                                                                     , California.

 Date:               OclP~ 2.2., Z:V ZJ                                                                Signature of Debtor 1



                                                                                                       Signature of Debtor 2




                   This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
October 201 B                                                              Page 1               F 1015-2.1.STMT.RELATED.CASES
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 Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
 State Bar No. & Email Address
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 9454 Wilshire Boulevard, 6th floor
 Beverly Hills, CA 90212
 (310) 271-6223 Fax: (310) 271-9805
 California State Bar Number: 100291 CA
 m ichael.berger@bankruptcypower.com




 D    Debtor(s) appearing without an attorney
 •    Attorney for Debtor

                                                        UNITED STATES BANKRUPTCY COURT
                                                         CENTRAL DISTRICT OF CALIFORNIA

 In re:
                                                                                       CASE NO.:
                BCT Deals, Inc.
                                                                                       CHAPTER: 11




                                                                                                           VERIFICATION OF MASTER
                                                                                                          MAILING LIST OF CREDITORS

                                                                                                                        [LBR 1007-1(a)]

                                                                   Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of _7_ sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

 Date:            Ddrrioe>t 2.2-,                1-D 'L \                                     n~vv..J~
                                                                                              Sig_n_a_t-
                                                                                                       ur_e_o~f~~
                                                                                                                ft-:-b-to
                                                                                                                        _r_1.,.....~~~~~~~~~~~-




 Date:




                      This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California .
December 2015                                                                                           F 1007-1.MAILING.LIST.VERIFICATION
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